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                         EXHIBIT A
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                                                                                                                   s                      •


                                                                                                                                                                     SUM-100
                                               SUMM0N                                                                                   FOR COURT USE ONLY
                                                                                                                                    (SOLO PARA USO DE L CORTE)

                                      (CITA CION JUDICiAL)
 NOTICE TO DEFENDANT:                                                                                                                 -C
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 (AWSOALDEMANDADO):                                                                                                                       t)FY)’              ri4V
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 THE REGENTS Of THE LFNIVERISTY OF CAIFORNIA a                                                                                            (•!    “

 California nonprofit corporation; and DOES 1 through 50, inclusive,
 YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                                                UG 1 4 7019
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                       Sherri R
 VALEN I [NA RIFI E as individual on behalfof herselfand all                                                                          /5                                Deputy
 persons similarly situated,
                                                                                                                               the information
  NOTICE! You have been sued The Court may decide against you without your being heard unless you respond within 30 days. Read
  below
                                                                                                                                        at this court and have a Copy
     You have 30 CALENDAR DAYS after tflis summons and legal pape are served on you to ide a written response
                                                                                                                                fonn if you went the court to hear your
  served on the plainti1f A letter or phone call will not protect you, Yo written response must be in proper legal
                                                                                                                                  nformation at the California Courts
  case. There may be a Court form that you can use for your response. Vu can find these court forms and more
                                                                                                                                                   pay the filing fee, ask
  Onhie SelfHolp Center (eww Courfnfo cagov/seITheip) your county law library, or the courthouse neatest you . If you cannot
                                                                                                                                  and your wages, money. and property
  the court clerk for a fee waiver form If you do not file your response on time, you may lose the case by default,
  may be taken without further warning from the court
                                                                                                                                       you may want to cat an attorney
      There are other tegal requirements. You may want to call an attorney oght away It you do not know an attorney,
                    If you cannot  afford an attorney.  you may  be  eligible for  free legal services   from  a nonprouil  legal   services   program. You can locate
  referral senice
                            at the Califorma  Legal  Services Web   site twww    Iawh&pcahfo    rnia  org), the  California Courts    Onhue    Self-Help Center
  these nonprofit groups
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  fwww courtinfo Ca goV/S&1fIle(p). or by contacting your local court or county bar association NOTE: The court has a statutory
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  costs on any settlement or arbitration award of 510,000 or more in a civil case. The courts lien must be paid before
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  Spring Street Courthouse, 312 N. Spring St., Los Angeles, CA 90012                                                t__

 The name address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
                                                                                                      tiene abogado, es).
 (El nombre, ía direcciUn y oF ndmero de telOfono del abogado del demandante, o del demandante quo no
  Katherine J. Odenbreit, 249 East Ocean Blvd., Ste. 8t4, Long Beach. CA 90802, (562) 590-5550


  (‘Fecha)
                       AUG       14    j                 Sherri R. Carter, Clerk                                                                                         Aocmto
 (For proof of service of this summons, use Proof of Service of Summons (form P05-010))
 (Para prueba de entrega do asIa c/ta/ian use el formularib Proof of Service of Summons. (P05-010))
                                          NOTICE TO THE PERSON SERVED: You are served
   l’L                                     1.   L1
                                                 as an individual defendant
                                          2      as the person sued under the fictitious name of (specify)



                                                       on behalf of (specffy)Tj’           ge(3’t*5 o+*%ie, U’iiw’r1t9                                        O1    Ct’1I{1fft1tw
                                                under:   El       CCP 416 10 (corporation)                                          CCP 416 60 (minor)
                                                         J        CCP 416 20 (defunct corporation)                     []           CCP 416 70 (conservatee)
                                                                  CCP 416.40 (association or partnership)              EJ           CCP 416 90 (authorized person)
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Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 3 of 33 Page ID #:9




      Kevin Mahoney (S3N: 235367)
      kmahonev@mahoney-Iaw.net                                             CO\)FiThMD COPY
                                                                            Oh4sL uL)
  2   Katherine J. Odenbreit (SBN: 1 84619)                              Superior Court of C&iforna
                                                                              (r.-’    .-‘   t
      am(mcy(imahonc-laW.nct
  3   MAHONEY LAW GROUP, APC                                                       AUG 14 2019
      249 East Ocean Boulevard, Suite 814
  4                                                                 Sherri R. (aftr, ixityWificeriUIerk ofCourf
      Long Beach, CA 90802
  )   Telephone No.: (562) 590-5550                                  B    4   /
                                                                                  3’,Deputv
                                                                                  tCVffl DtCW
      facsimile No.: (562) 590-8400
  6

  7
      Attorneys for Plaintiffs VALENTINA RIFFEL, on behalf of herself and all those similarly
      situated.
  8

  9                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
 i0
                                  FOR THE COUNTY OF LOS ANGELES
 11

      VALENTINA RIfFEL, as individual, on             CaseNo.
 12
      behalf of herself and all persons similarly                   9sTCV283a3
  3   situated,                                       CLASS ACTION

 14                  Plaintiff,                       COMPLAINT FOR DAMAGES

 (5
             v.                                           1.   Fraudulent Deceit;
                                                          2.   Negligent Misrepresentation;
 16
      THE REGENTS OF THE UNIVERSITY OF                    3.   False Advertising;
 17   CALIFORNIA, a California nonprofit                  4.   Unfair Business Practices; and
      corporation; and I)OES 1 through 50,                5.   Negligence
 l8   inclusive,
                                                       I)EMAND FOR JURY TR1AL
 I9                   Defendants.
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                                           COMPLAINT EOR DAMAGES
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                     Plaintiff, VALENTINA RIFFEL, (hereinafter, “Plaintiffs”) on behalf of herself and the

       2   Plaintiff Class, complains and alleges as follows:

       3                                            INTRODUCTION
   4                 1.      This is a Class Action brought by PlaintifT on behalf of the Class she seeks to

   s       represent (“Plaintiff Class” or “Class Members”). Plaintiff Class consists of all individuals who

   6       paid, or reimbursed the payment ot an admission application fee in connection with an

   7       application for admission to the University of California, Los Angeles (“UCLA”) during the Class

   8       Period. The Class Period is defined as four (4) years prior to the filing of this Complaint, through

   9       the date final judgment is entered in this case.

  10                 2.     Plaintiffs reserve the right to amend this Complaint to reflect a different “Class

       I   Period” or “Plaintiff Class” as further discovery is conducted.

  12                                                     PARTIES

  13                 Plaintiff

  ‘4                 3.     Plaintiff VALENTINA RIFFEL reimbursed her parents for an application fee that

  is       Plaintiffs parents paid to Defendant, in connection with an application for admission to UCLA

   6       during the Class Period.

  17                 Defendant

   8                 4.     The Regents of the University of California (“Regents” or “Defendant”) is a

   9       corporation, in the form of a board composed of seven cx officio members and eighteen

  20       appointive members. (Cal. Const., art. IX,   §   9, subd. (a).) The Regents administers the University
  21       of California, which is a public trust. (Id.) UCLA is a University of California campus. UCLA is

  22       a   public, highly selective university located in Los Angeles County, and is therefore a resident of

  23       Los Angeles County.

  2%                 5.     Plaintiff is not aware of the true natiies and/or capacities of those entities or

  25       individuals sued herein as l)OLS 1 through 50, inclusive, and therefore sues these Defendants by

  26       their fictitious names. Plaintiff will seek leave of this Court to amend this Complaint to insert

  27       their true names and/or capacities when the same are ascertained.

  28                 6.     Unless otherwise specified herein, each DOE Defendant was the agent and


                                                               2

                                                  Ct)MPLA [NI PC)R DA\1AGFS
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           I   employee of each Defendant, and in doing the things hereinafter mentioned, were at all times
       2       acting within the course and scope of that agency and employment.
       3                                           JURISDICTION AND VENUE
       4               7.      Plaintiff re-alleges and incorporates by reftrcnce the preceding paragraphs of this
       5       Complaint as if fully alleged herein.
       6               8.      This Court has subject matter jurisdiction over the causes of action alleged in this
       7       Complaint because the Court isa court of generat subject matter jurisdiction and is not otherwise
       s       excluded from exercising subject matter jurisdiction over said causes of action.
    9                  9.      Venue is proper in the County of Los Angeles because UCLA resides in Los
   io          Angeles County and the action involves loss of property as a result of negligence and wrongful
       I       acts.
  12                                                  CLASS ALLEGATIONS
  13                   10.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs of this
  14           Complaint as if fully alleged herein.
  I5                   11.     Plaintiff brings this action on behalf of herself and all other similarly situated
  16           persons, as a class action pursuant to California Code of Civil Procedure §382.
   7                   12.     Plaintiff reserves the right under Rule 1 855(h), Cuti/rnia Rules of Court, to
  is           amend   or modify the Class description with greater specificity or further division into subclasses
  19           or limitation to particular issues.
  2t)                  13.     This action has been brought, and may he maintained, as a class action pursuant
  21           to Code of Civil Procedure      §   382, because there is a well-defined common interest of many
  22           persons and it is impractical to bring them all hefbre the court.
  23                   14.     This Court should permit this     action to   he maintained as a class action pursuant to
  24           California Code o/Civit Procedure       §   382 because:
  25                           (a)     The questions of law and fact common to the Class predominate over any
  26                                   question affecting    only individual   rnembcrs

  2?                           (h)     A class action is    superior   to any other available method for the fair and
  28                                   efficient adjudication of the claims of the members       of   the Class



                                                       COMPlAINt lOR DAMAGES
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                 (c)    The Class is so numerous that it is impractical to bring all member of the
       2                Class before the Court;

       3         (d)    Plaintiff and Plaintiff Class will not he abic to obtain effective and
    1                   economic legal redress unless the action is maintained as a class action;

       5         (e)    There is a community of interest in obtaining appropriate legal and

   6                    equitable relief for the common law and statutory violations and other
   7                    improprieties, and in obtaining adequate compensation for the damages

   8                    and injuries which Defendant’s actions have inflicted upon the Class;

                 (f’)   There is a community      of’   interest in ensuring that the combined assets
  io                    and available insurance of the Defendant are sufficient to adequately

                        compensate Plaintiff Class for the injuries sustained;

  12             (g)    Without class certification, the prosecution of separate actions by

   3                    individual members of the Class would create a risk of:
  14                    (1)     Inconsistent or varying adjudications with respect to individual
  is                           members of the Class which would establish incompatible
   6                           standard of conduct for the Defendants; and/or
   7                    (2)     Adjudications with respect to the individual members which

  18                    would, as a practical matter, he dispositive of the interests

                        of’ other members not parties to the adjudications, or would
  20                    substantially impair or impede their ability to protect their
  21                    interests, including but not limited to the potential for exhausting
  :2                    the funds available from those parties who are, or may he,

  23                    responsible Defendant; and

  24                    (h)    Defendant has acted or refused to act on grounds generally
  25                           applicable to the Class, thereby making final injunctive relief
  26                           appropriate with respect to the Class as a whole.
  2?

  28       /1/



                                      COMPLAINT FOR [)AMAGES
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                                             FIRST CAUSE Of ACTION
       2                                                 Fraud
       3         (Plaintiffs and Plaintiff Class against ])efendant The Regents of the University of

       4                                               California)
       5           15.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs of this

       6   Complaint as if fully alleged herein.

       7           16.     “The elements of fraud are: (1) a misrepresentation (fa]sc representation.

       8   concealment, or nondisclosure); (2) knowledge of falsity (or scienter); (3) intent to defraud, i.e.,

       9   to induce reliance; (4) justifiable reliance; and (5) resulting damage jeitation].” (Robinson

      in   Helicopter Co., Inc. v. Dana Corp. (2004) 34 Cal .4th 979, 990.)

                   1 7.   Through its website, UCLA represented that it would consider applicants for

      12   admission to   UCLA on their merits, stating that: “The goal of the campus’ admissions review

      13   process is to single out from a large and growing pool of academically strong applicants those

      4    unique individuals who have demonstrated the intellectual curiosity, tenacity, and commitment

      IS   to community service expected of the UCLA graduate.” The Representation continues: “Selection

      6    is based on a comprehensive review of all information—both academic and personal-—presented

      7    in the application. All applications are read twice, in their entirety, by professionally trained

  I   s    readers. After independently reading and   analyzing   a file, the reader determines a comprehensive
  Ic       score that is the basis upon which the student is ultimately admitted or denied.” (the

  20       “Representation”)

  21               18.    The Representation was untrue, as UCLA failed to state that, in exchange for

  22       payment, it would designate applicants for admission as student-athlete recruits and thereby

  23       afford them a higher likelihood of admission than applicants who are not designated as student-

  24       athlete recruits (the “Omission”). As UCLA’s men’s soccer coach was accepting money in

  25       exchange for “student-athlete recruit designations,” at time the Representation was made, UCLA

  26       had no reasonable ground for believing the Representation to be true.

  27              19.     The Representation was      made   through UCLA’s website with intent to induce
  28       would-be applicants, including Plaintiff and Plaintiff Class, to rely upon the Representation and


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           pay, or reimburse, an application fee in connection with an application for admission to UCLA.

       2   Having no knowledge of Representation’s falsity, Plaintiff and Plaintiff Class relied       UOfl   the
       3   truth of the Representation, and paid, or reimbursed payment of, an application fee in connection

       4   with an application for admission to UCLA during the class period. As a result of their reliance,

       5   Plaintiff and each member of the Plaintiff Class suffered a loss of property— the fee these Class

       o   Members paid or reimbursed in connection with an application for admission to UCLA during

   7       the class period.

   8                                        SECOND CAUSE OF ACTION
   9                                          Negligent Misrepresentation

  to             (Plaintiff and Plaintiff Class against i)efcndant The Regents of the University of

       I                                                     California)
  12               20.     Plaintiff re-alleges and incorporated by reference the preceding paragraphs of this

  13       Complaint as if fully alleged herein.

  14               21.    The elements of a cause of action for negligent misrepresentation arc: I) The

  15       defendant must have made a representation as to a past or existing material fact; 2) The

  to       representation must have been untrue; 3) Regardless of his actual belief the defendant must have

  17       made the representation without any reasonable ground for believing it to be true; 4) The

  18       representation must have been made with the intent to induce plaintiff to rely upon it; 5) The

   9       plaintiff must have been unaware of the falsity of the representation; he must have acted in

  20       reliance upon the truth of the representation and he must have been justified in relying upon the

  2)       representation; and 6) As a result of his reliance upon the truth of the representation, the plaintiff

  22       must have sustained damage. (Friedman        i.   Merck & Co. (2003) 107 Cal.App.41 454, 476.)
  23              22.     UCLA’s Representation was untrue, as applicants for admission to UCLA during

  24       the class period could also pay unpublished amounts of money to have their applications for

  25       admission considered under the more lenient standard applied to student-athlete recruits.

  26              23.     As UCLA’s men’s soccer coach was accepting morley in exchange for student
  27       athlete recruit designations” at time the Representation was made, UCLA had no reasonable

  28       ground for believing the Representation to be true. The Representation was made through

                                                                  6

                                                   COMPi.\tN F FOR [)A’1ACiES
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           UCLA’s website with the intent to induce would-be applicants, including Plaintiff and Plaintiff

       2   Class, to rely upon the representation and pay, or reimburse the payment of an application fee in

       3   coniiection with an application for admission to UCLA.

       4            24.    Having no knowledge of Representation’s falsity, Plaintiff and each member of

       5   the Plaintiff Class relied upon the truth of the Representation and paid, or reimbursed the payment

       6   of an application fee in connection with an application [‘or admission to UCLA. As a result of

       7   their reliance, Plaintiff and each member of the Plaintiff Class suffered a loss of property     —   the
       8   fee paid or reimbursed in connection with an application [‘or admission to UCLA during the class

    9      penod.

                                             THiRD CAUSE Of ACTION

                                                     False Advertising
   2             (Plaintiff and Plaintiff Class against Defendant The Regents of the University of

  13                                                    California)
  14                25.    PlaintifT re-alleges and incorporates by reference the preceding paragraphs of this

    5      Complaint as if fully alleged herein.

   6                26.    Under California Business and Professions Code, section 17500, “[i]t is unlawful

  1?       for any’.. .corporation or association.. .with intent directly or indirectly...to perform services.. .to

  ix       make or disseminate or cause to be made or disseminated before the public in this state.. in

           any. ..manner or means whatever, including over the Internet, any statement, concerning.. .thosc

  2f)      services., which is untrue or misleading. and which is known, or which by the exercise of

  21       reasonable care should he known, to he untrue or misleading.”

  22                27.    Defendant, with intent to perform services, disseminated untrue and/or misleading

  23       statements concerning those services to the public in the State of California. Specifically, on its

  -i       website, I)efendant made the Representation.

  25                28.   At the time Defendant made its Criteria Statement, UCLA’s men’s soccer coach
  26       designated applicants for admission to USC as recruited athletes in exchange fbr payment to a

  2?       sports marketing company controlled by the UCLA’s men’s soccer coach.

 28                 29.   ‘[‘he admissions prospects of’ recruited athletes at UCLA are higher than those of


                                                              7

                                                   COMPLAINT LOR DAMAGES
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           non-recruited athletes with similar grades and standardized test scores.
       2           30.     Although Plaintiff may have reasonably expected that recruited athletes may have
       3   a lower academic bar to clear, Plaintiff was not aware that an applicant could pay money to have
       4   his or her application considered under that same lowered bar.
       5           3 1.    Defendant knew or should have known that its men’s soccer coach was selling
       6   “student-athlete recruit” designations that allowed students who were not recruited student-
       7   athletes to have their applications for admission considered under the lower bar reserved for
    $      student-athlete recruits.
    9              32.     Although Defendant knew or should have known that it was selling passes for a
   to      lowered admissions standard, it omitted that fact from the Representation. If Plaintiff knew that
       t   Defendant was selling passes for a lowered admission standard, she would not have paid or
    2      reimbursed an application fee in connection with an application for admission to UCLA.
   13                                      FOURTH CAUSE OF ACTION
   II       Unfair Competition, in Violation of Business and Professions Code Section 17200 et seq.

    5            (Plaintiff and Plaintiff Class against Defendant The Regents of the University of

   16                                                   California)
  17              33.      Plaintiff re-alleges and incorporates by reference the preceding paragraphs of this
   3       Complaint as if fully alleged herein.
  19              34.     California Business and Professions Code section 17203 in relevant part provides,
  20       “Any person who engages, has engaged, or proposes to engage in Ltnfair competition may be
  21       enjoined in any court ofcompctentjurisdiction. The court may make such orders orjudgments...as
  22       may be necessary to restore to any person in interest any money or property, real or personal.
  23       which may have been acquired by means of such unfair competition.”
  24              35.     As Lised in section 1 72t)3, “unfair competition” includes “any unlawful, unfair or
  25       fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising and any
  26       act prohibited by IBusiness and Professions Code section 17500 ct seq.].”

  27              36.     Defendant engaged in fraudulent business acts and practices against Plaintiff and

  2$       Plaintiff Class by advertising that it would consider applicants for admission to UCLA on their



                                                   COMPLAINT FOR DAMAGES
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        i   merits, as stated in the Representation.
       2            37.     However, UCLA failed to state that, in exchange fbr payment, it would designate
       3    applicants for admission as student-athlete recruits and thereby afford them a higher likelihood
       1    of admission than applicants who are not designated as student-athlete recruits. By choosing to

       5    speak, UCLA had a duty to speak the whole truth. UCLA’s representation is likely to deceive
    6       members of the public, as it fails to disclose that applicants can pay a fcc and have their
       7    applications judged by less stringent criteria than that applied to the general applicant pooi.

                    38.     As a result of Defendant’s unfair competition, Plaintiff and Plaintiff Class have
    9       su[iëred injury in fact and lost money, in the form of payment, or reimbursement of payment, of
   10       application fees in connection with applications for admission into UCLA during the class period.
   ii               39.     Plaintifl on behalf of herself and Plaintiff Class, requests restitution of the funds
   12       paid, or reimbursed, by Class Members in connection with an application for admission to UCLA
   13       during the class period.
   14                                             FIfTH CAUSE OF ACTION
   ts                                                        Negligence
   16             (Plaintiff and Plaintiff Class against 1)cfendant The Regents of the University of

   7                                                         California)
   8                40.    Plaintiff re-alleges and incorporates by reference the preceding paragraphs of this
   9        Complaint as if fully alleged herein.
  20               41.     Actionable negligence invotves a legal duty to use due care, a breach of such legal
  21        duty, and the breach as the proximate or legal cause of the resulting injury [citation].” (United
  22        States Licthitity Ins. Co. v. 1-laidinger-Hayes, Jnc. (1970) 1 Cal.3d 586, 594.) Everyone is

  23        responsible, not only for the result of his or her willful acts, but also for an injury occasioned to
  24        another by his or her want     of   ordinary care or skill in the management of his or her property or
  25        person...” (Civ. Code.   §   1714, subd. (a).)
  26               42.     UCLA had a legal duty to use due care in publishing the criteria for admission into
  2?        UCLA. UCLA breached that duty by misleading the public               —   in the Representation    about
  28        how it evaluated applications for admission into UCLA. As a direct and foreseeable result of the

                                                                  0


                                                     COMPI,AINT 1’OR [)A\IAGES
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           Representation, Plaintiff and Class Members paid, or reimbursed the payment of application fees

   2       in connection with an application for admission to UCLA during the class period. Plaintiff and

   3       Class Members suffered damage, as they would not have paid, or reimbursed the payment of, an

   ‘t      application fee, but for the Representation.

   S                                              PRAYER FOR RELIEF

   6       WHEREFORE, Plaintiff prays for the following relief:

   7                1.       For compensatory damages. including liquidated damages in an amount according

   8                         to proof;

                    2.       For general damages in an amount according to proof;

  to                3.       Injunctive relie enjoining [)efèndant from engaging in the unlawful and

       I                     unfair business practices complained herein.

  12                4.       For declaratory relief, declaring Defendant’s practices as unlawful and unfair

  13                         business practices within the meaning of Business and Professions Code sections
  14                         17200 etseq.,

  is                5.       For restitution under Business and Professions Code sections 17200 et seq.

                    6.       further declaratory relief, declaring the amounts of damages, equitable

  I?                         relief, costs, and attorneys’ fees to which Plaintiff is entitled; and

  18                7.       For such other and further relief as this Court may deem just and proper.
   0

  20       Dated:   August   14. 2019                        MAhONEY LAW GROUP, APC
  21
                                                                /       I                         /



                                                     By
                                                                            I   /LC:
                                                             Kevin Mahoney, L9
  24                                                         Katherine J. Odenheit, Esq.
                                                             Attorneys for Plaintiff VALENTINA RIFFEL
  ‘S


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                                                                10

                                                   C()MPLAINT FOR DAvtAGES
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 13 of 33 Page ID #:19




                                            DEMAND FOR JURY TRIAL
       2           Plaintiff VALENTINA RIFFEL, on behalf of herself and the Class she seeks to represent.

       3   hereby demands a jury trial on all issues so triable.

       4

           Dated: August 14, 2019                         MAhONEY LAW GROUP, APC
    6




    s                                             By
                                                          Kevin Mahoney, t
    9                                                     Katherine J. ()denteit, Esq.
                                                          Attorneys for Plaintiff VALENTINA RIf F EL
   10




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                                                COMPLAINT EOR DAMAGES
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 14 of 33 Page ID #:20




           TiILERiffeI v. The Regents of the
                                             University of California
                                                                                                                            I C V 2 8 3 23
                                CIVIL CASE COVER SHEET ADDENDUM AND
                                        STATEMENT OF LOCATION
                 (CERTiFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 This form is required pursuant to Local Rule 2 in aU new civil case fWngs the Los Anges Superior Couj




         Step 1:    After completing the Civil Case Covet Sheet (Judicial Council form CM-O1O), find the exact case type in
                    Column A that corresponds to the case type indicated in the Civil Case Covet Sheet.


         Step 2:    In Column B, check the box for the type of action that best describes the nature of the case.


         Step 3:    In Column C, circle the number which explains the reason for the court filing location you have
                    chosen.


                           [               Applicable Reasons for Choosing Court Filing Location (Column C)

 1 Class actions must be filed in the Stanley Mask Courthouse, Central District                 7. Location where petitioner resides
 2 Permissive filing in central district                                                        8 Location wherein defendant/respondent functions wholly.
 3 Location where cause of action arose                                                         9 Location where one or more of the parties reside
 4 Mandatory personal injury filing in North District                                      10. Location of Labor Commissioner Office
                                                                                           11. Mandatory filing location (Hub Cases unlawful detainer, limited
                                                                                                                                           —

 5 Location where performance required or defendant resides
                                                                                           non-collection, limited collection, or personal injury).
 6 Location of property or permanently garaged vehicle.




                                  A                                                                  B                                                            C
                      Civil Case Cover Sheet                                                Type of Action                                           Applicable Reasons   -



                            Category No.                                                   (Check only one)                                           See Step 3 Above

                               Auto (22)            LI   A7100 Motor Vehicle Personal Injury/Property Damage/Wrongful Death                          1, 4, 11

                     Uninsured Motorist (46)        LI   A7110 Personal Injury/Property Damage/Wrongful Death—Uninsured Motorist                     1. 4.11


                                                    LI   A6070 Asbestos Property Damage                                                              1, 1 1
                          Asbestos (04)
                                                    LI   A7221 Asbestos    -   Personal Injury/Wrongful Death                                        1. 1 1
    a) 0
    o I—
    o    -             Product Liability (24)       LI   A7260 Product Liability (not asbestos or toxic/environmental)                               1, 4. 1 1
    o_
          a)
                                                    LI   A721 0 Medical Malpractice Physicians & Surgeons
                                                                                       -
                                                                                                                                                     1 4, 1 1
                     Mecical Malpractice (45)
                                                    LI   A7240 Other Professional Health Care Malpractice                                            1 4 11
    —     C



                                                    LI   A7250 Premises Liability (e g slip and fall)
                                                                                            ,
    a)    a)                                                                                                                                         1 4 11
                         Other Personal
                         Injury property            LI   A7230 Intentional Bodily lnury/Property Damage/Wrongful Death (e.g
                                                                                                                                       ,             1, 4,    1
                        Damage Wrongful                        assault, vandalism, etc)
                           Death (23)                                                                                                                1. 4, 1 1
                                                    LI   A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                     1. 4. 1 1
                                                    C    A7220 Other Personal Injury/Property Damage/Wrongful Death




   LAdy 109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                              Local Rule 2 3
   LASC Approved 03-04                               AND STATEMENT OF LOCATION                                                                       Page 1 of 4
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 15 of 33 Page ID #:21



               r rE:                                                                                        CASE NUMRER
                       Riffel v. The Regents of the Universtty of California
 tjr

                                     A                                                              B                                               C Applicable
                           Civil Case Cover Sheet                                             Type of Action                                     Reasons See Step 3
                                                                                                                                                             -



                                 Category No.                                                (Check only one)                                          Above

                             8usness Tort (07)            El   A6029 Other Commercial/Business Tort (not fraud/breach of contract)               1, 2, 3

                              Civil Rights (08)           El   A6005 Civil Rights/Discrimination                                                 1. 2. 3
     O

                              Defamation (13)             El   A6010 Defamation (slander/libel)                                                  1, 2, 3

    —
                                 Fraud (16)               El   A6013 Fraud (no contract)                                                         1,2,3

     o
    Cl)                                                   El   A6017 Legal Malpractice                                                           1, 2. 3
                        Professional Negligence (25)
    Q_         c                                          El   A6050 Other Professional Malpractice (not medical or legal)                       1, 2, 3
     oc

                                 Other (35)                    A6025 Other Non-Personal Injury/Property Damage tort                              1.2. 3

                         Wrongful Termination (36)        El   A6037 Wrongful Termination                                                       1. 2. 3
          a)
          E
          0                                               El   A6024 Other Employment Complaint Case                                             1. 2. 3
          0               Other Employment (15)
      E                                                   El   A6109 Labor CommissionerAppeals                                                   10
      Ui


                                                          El   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                     eviction)                                                                  2 5
                        Breach of Contract? Warranty
                                                          El   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)           2 5
                                    (06)
                              (not insurance)                  A601 9 Negligent Breach of Contract/Warranty (no fraud)                           1 2, 5
                                                          El
                                                          El   A6028 Other Breach of ContractANarranty (not fraud or negligence)
                                                                                                                             .                   12,5

      0
      Co                                                  El   A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                              Collections (09)
      0                                                   El   A6012 Other Promissory Note/Collections Case                                     5, 11
     0
                                                         El    A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6. 1 1
                                                                     Purchased on or after January 1, 2014)
                         Insurance Coverage (18)         El    A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                                         El    A6009 Contractual Fraud                                                          1, 2, 3, 5
                            Other Contract (37)          El    A6031 Tortious Interference                                                      1, 2, 3, 5
                                                         El    A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                         Eminent Doman/Inverse
                                                         U     A7300 Eminent Domain/Condemnation                Number of parcels_______        2, 6
                           Condemnation (14)
     >,
     a)
     0                    Wrongful Eviction (33)         El    A6023 Wrongful Eviction Case                                                     2, 6
     0
     0
     Co                                                  El    A6018 Mortgage Foreclosure                                                       2, 6
     a)
                         Other Real Property (26)        El    A6032 Quiet Title                                                                2, 6
                                                         El    A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                       Unlawful Detaer-Cornmercial
                                                         C     A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6. 11
     a)

     Co                Unlawful Detainer-Residential
     a)                                                  El    A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                           Unlawful Detainer-
                                                         C     A6020F Unlawful Detainer-Post-Foreclosure                                        2.6. 11
                          Post-Foreclosure (34)      —




                       Unlawful Detainer-Drugs (38)      El    A6022 Unlawful Detainer-Drugs                                                    2, 6. 11



  LAdy 109 (Rev 2/16)                                    CIVIL CASE COVER SHEET ADDENDUM                                                      Local Rule 2 3
  LASC Approved 03-04                                          AND STATEMENT                 OF LOCATION                                        Page 2 of 4
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 16 of 33 Page ID #:22




 ronr          TiTLE.                                                                                         CASE NUMBER
                        Riffel v. The Regents ot the University of California

                                        A                                                             B                               C Applicable
                             Civil Case Cover Sheet                                             Type of Action                     Reasons See Step 3
                                                                                                                                                 -




                                   Category No.                                                (Check only one)                          Above

                              Asset Forfeiture (05)        U    A6108 Asset Forfeiture Case                                        2, 3, 6


                           Petition re Arbitration (11)    U    A6115 Petition to Compel/Confirm/Vacate Arbitration                2. 5
         C)
         >
         C)
                                                           U    A6151 Writ   -   Administrative Mandamus                           2, 6
         cci
         0
                              Writ of Mandate (02)         U    A6152 Writ   -   Mandamus on Limited Court Case Matter             2

                                                           U    A6153 Writ Other Limited Court Case Review
                                                                             -                                                     2
         -)


                           Other Judicial Review (39)      U    A6150 OtherWrit/Judicial Review                                    2,8


                         Antitrust/Trade Regulation (03)   U    A6003 Antitrust/Trade Regulation                                   1, 2, 8
         0

         cci
         0)                 Construction Defect (10)       U    A6007 Construction Detect                                          1, 2, 3
         -j
                           Claims lnvoivg Mass Tort
         C)                                                U    A6006 Claims Involving Mass Tort                                   1. 2. 8
         0
         E
          0
         C-)                Securities Litigation (28)     El   A6035 Securities Litigation Case                                    1, 2, 8
          >,
         cci
         C                         Toxic Tort
         0                                                 U    A6036 Toxic Tort/Environmental                                      1, 2, 3, 8
                               Environmental (30)
         (I,

         0                Insurance Coverage Claims
                                                           U    A6014 Insurance Coverage/Subrogation (complex case only)            1 2, 5, 8
                            from Complex Case (41)

                                                           U    A6141    Sister State Judgment                                      2, 5, 1 1

                                                           U    A6160 Abstract of Judgment                                          2,6
   C)          C)
   EE                              Enforcement             U    A6107 Confession of Judgment (non-domestic relations)               2, 9
   ci,
   o -
       r
                                of Judgment(20)            U    A6140 AdministrativeAgencyAward (not unpaid taxes)                  2, 8
                :3
               -3

   U           0                                           U    A61 14 Petition/Certificate for Entry of Judgment on Unpaid Tax     2, 8

                                                           U    A6112 OtherEnforcementofJudgment Case                               2,8,9


                                   RICO (27)               U    A6033 Racketeering (RICO) Case                                      1, 2, 6
               U)


   o           cci                                         U    A6030 Declaratory Relief Cnly                                       1, 2, 8
   mE                                                      U    A6040 Injunctive Relief Only (not domestic/harassment)              2, 8
                               Other Complaints


   H                       (Not Specified Above) (42)      El

                                                           U
                                                                A601 1   Other Commercial Complaint Case (non-tort/non-complex)

                                                                A6000 Other Civil Complaint (non-tort/non-complex)
                                                                                                                                    1, 2, 8

                                                                                                                                    1. 2, 8

                            Pannership Corporation
                                                           U    A61 13 Partnership and Corporate Governance Case                    2, 8
                               uovernance (21)

                                                           U    A6121    Civil Harassment                                           2, 3, 9
   U)          U)
               C                                           U    A6123 Workplace Harassment                                          2, 3, 9
   00

   cci
               =                                           U    A6124 Elder/DependentAdult Abuse Case                                  2.3,9
                              Other Petitions (Not
   C) =                      Specified Above) (43)         U    A6190 Election Contest                                              2
   U)>
   C,)                                                     U    A61 10 Petition for Change of Name/Change of Gender                    2, 7
                                                           U    A6170 Petition for Relief from Late Claim Law                          2, 3, 8
                                                           U    A6100 Other Civil Petition                                             2, 9




  LACIV 109 (Rev 2/16)                                     CIVIL CASE COVER SHEET ADDENDUM                                        Local Rule 2 3
  LASC Approved 03-06                                           AND STATEMENT OF LOCATION                                              Page 3 of 4
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 17 of 33 Page ID #:23




 [)R                                                                                       cs NUEU3EP
                 Riflel v. The Regents of the University of California


 Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
         type of action that you have selected, Enter the address which is the basis for the filing location, including zip code.
         (No address required for class action cases).

                                                                        ADDRESS
    REASON:                                                             312 N. Spring St., Los Angeles, CA 90012
     ii.        2.   3.   4.   5.   6.   7.   8.       9.   10.   11.



    DEFY                                       ElSIE         1PDDDE:

    Los Angeles                               CA            90012

 Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                       District of
         the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




   Dated’ August 14, 2019
                                                                                        C GNATURFCF ATIORNE lEO NtPAR’TY)




   PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
   COMMENCE YOUR NEW COURT CASE:

           1.   Original Complaint or Petition.
           2.   If filing a Complaint, a completed Summons form for issuance by the Clerk

           3.   Civil Case Cover Sheet, Judicial Council form CM-01 0.

           4    Civil Case Cover Sheet Addendum and Statement of Location form, LAO IV 109, LASC Approved 03-04 (Rev.
                02/16)
           5.   Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
           6.   A signed order appointing the Guardian ad Litem, Judicial Council form CIV-01 0, if the plaintiff or petitioner is a
                minor undet 18 years of age will be required by Court in order to issue a summons.

           7.   Additional copies of documents to be conformed by the Clerk Copies of the cover sheet and this addendum
                must be served along with the summons and complaint, or other initiating pleading in the case,




   LACIV 109 (Rev 2/16)                       CIV1L CASE COVER SHEET ADDENDUM                                               Local Rule 2 3
   LASC Approved 03-04                            AND STATEMENT OF LOCATION                                                   Page   4 of 4
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 18 of 33 Page ID #:24




       Kevin Mahoney (SBN: 235367)

   2   Katherine J. Odenbreit (SBN: 1 8461 9)
       amohonev&maho;iev—law.net
   3   MAHONEY LAW GROUP, APC
       249 East Ocean Boulevard, Suite 814
       Long Beach, CA 90802
       Telephone No.: (562) 590-5550
       Facsimile No.: (562) 590-8400
   6

       Attorneys for Plaintiffs VALENTINA RIFFEL, on behalfof herself and all those similarly
       situated.
   8
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
   9
                                     FOR THE COUNTY OF LOS ANGELES
  10

                                        SPRING STREET COURTHOUSE

  12   VALENTINA RIFFEL, as individual, on                  Case No.: 19STCV28323
       behalf of herself and all persons similarly
       situated,                                            CLASS ACTION

                         Plaintiff                           PLAINTIFF’S NOTICE OF DEPOSIT OF
                                                             JURY FEES

  16                                                         Assigned for all purposes to:
       THE REGENTS OF THE UNIVERSI TY OF                     Hon. William F. Highberger
  17   CALIFORNIA, a California nonprofit                    Dept. 10, Spring Street Courthouse
       corporation; and DOES 1 through 50,
       inclusive                                             Complaint Filed:       August 14, 2019
  19                                                         Trial Date:            None Yet Set
                          Defendants.
  20

  21   TO THE HONORABLE COURT AND DEFENDANTS:

  22
                PLEASE TAKE NOTICE that pursuant to Code of Civil Procedure Section 631(b),

  23   Plaintiff VALENT1NA RIFFEL, has posted the requisite jury fees in the amount of S 150.00.

       Dated:   August   16. 2019                       MA1IIONEY LAW GkOLJP, APC


                                                By
  26                                                    Kevin Mahoney, Lsq.

  77
                                                        Katherine J. t)denhIt. Esq.
  -                                                     Attorneys for Plaintiff VALFNTINA RIFFEL
  2%




                                      PLAINTiFF’S NO FlUE OF DEPOSIT 01 JURY FEES
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 19 of 33 Page ID #:25


                                                                                                                                                                                          CM-OiO
       rIOPNFY OR PAR Pr VSTHOUI AT [ORNL’( (Name State Bar number ant! amwassi                                                            FOR COURT USE ONLY
       Kcvtn Mahoney (SBN: 23)367)/Katherine I Od’nbreit (SBN:184tl’)
       MAHONEY LAW GROUP, APC                                                                                                                                                  D        copy
       249 E. Ocean Btvd. Ste. 814
                                                                                                                                  SuperIor Court of California
                                                                                                                                  -



       Long Beach CA 90802
                                                                                                                                                                                   Aneles
            tFtEPHONENOç562) 590-5550            FAX NO (562) 590-4O0                                                                          ‘“
                                                                                                                                                               -,




   AI1ORNEV FOR/Name) Plaintiff Valentrna Riffel
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                                                                       —




                                                                                      ——-•---———                                                AUG 1 4 2019
       STREET ADORLSS. 3 12 N. Spring Street
                                                                                                                           Sherri k. t,!per. 1’            5lIY              ullicerlUerk        ol Coil
       MAILING ADDRESS 312 N. Spring Street
      C1TYANDZiPcDDE: Los Angeles, CA 90012
                                                                                                                                      /1   )               ‘/
                                                                                                                                                                                            Deputy
          DRANCH NAME Spring Street Courthouse
                                                                                                                                       / Ipvrn Drew

      CASE NAME:
      Riffel v. The Regents ofthe University of California
          CML CASE COVER SHEET                                         Complex Case Designation
                                                                                                                      CASE
                                                                                                                             N1t9S I CV
   [71      Unlimited            [7]    Limited
                                                                           Counter       L_J Joinder
            (Amount                     (Amount
            demanded           demanded is          Filed with first appearance by defendant
            exceeds 525.000)   $25000 or less)           (Cal Rules of Court, rule 3 402)
                                   Items 7—6 below must be completed (see instructions on page 2)
  1    Check one box below for the case type that best describes this case
        Auto Tort                                               Contract                                      Provisionally Complex Civil Litigation
       EZ]     Auto (22)                                       ElI     Breach of contract/warranty (06)       lCal. Rules of Court, rules 3.400—3.403)
       L .1    Uninsured motorist (46)                         LEI     Rule 3 740 collections (09)           El      Antitrust/Trade regulation (03)
       Other PIIPDIWD (Personal lnjurylProperty                Li      Other collections (09)                LII     Construction defect (10)
       Damage/Wrongful Death) Tort                             El      Insurance coverage (18)               LII     Mass tort (40)
       El      Asbestos (04)
                                                               fl     Other contract (37)                    Li      Securities lit:galion (28)
       L_]     Product liability (24)                           Real Property                                LI]     EnvIronmental/ToxIc tort  (30)
               Medical malpractice (45)                               Eminent domain/Inverse                 LI      Insurance coverage claims arising from the
       [.. i   Other PI/PD/WD (23)                                    condemnation (14)                              above listed provisionally complex case
        Non-PIIPD!WD (Other) Tort                              Li      Wrongful eviction (33)                        types (41)

       LI      Business tort/unfair business practice (07)     L]      Other real property (26)               Enforcement of Judgment
       [i      Civil rights (08)                                Unlawful Detainer                             LII    Enforcement of tudgment (20)
       C__i    Defamation (13)                                 LII    Commercial (31)                         Miscellaneous Civil Complaint
       L_J     Fraud (16)                                      Li     Residential (32)                        El     RICO (27)
               nteltectual property (19)                       Li   Drugs (38)                                El     Other complaint (not specified above)                                (42)
       1. .1   Professional negligence (25)                    Jicial Review                                  Miscellaneous Civil Petition
       LIZ)    Other non-PI/PD/WD tort (35)                    Li      Asset forfeiture (05)
                                                                                                              LII    Partnership and corporate governance (21)
        Em loyment                                             El      Petition re: arbitration award (11)
                                                                                                              El     Other petition(not specified above) (43)
               Wrongiut termination (36)                       El      Writ of mandate   (02)
       El      Other employment (15)                           [_J     Other judicial review
  2     ThIs case [Li is              Li
                                       is not   complex under rule 3 400 of the Califocn:a Rules of Court If the case is complex, mark the
        factors requ:ring exceptional judicial management:                             —




        a  LZ]   Large number of separately represented parties        d               [fl
                                                                               Large number of witnesses
        b. [El   Extensive motion practice raising difficult or novel  e               [ I
                                                                               Coordination with related actions pending in one or more courts
                 issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
        c  LIZJ  Substantial amount of documentary evidence                          El
                                                                               Substantial postjudgmentudiciaI supervision

  3     Remedies sought (check al/that apply). a             7I monetary          b RI nonmocetary; declaratory or injunctive relief                                          c.   El punitive
  4     Number of causes of action (specify): 5
  5     This case       LZJ
                          is          Li
                                     is not  a class action suit
  6     If there are any known related cases, file and serve a notice of related case.(.You may use form CM-i315)
                                                                                                                                                                         7.,
  Date  \uLust 14 2019                                                                                / /
  Katheunc J Odcnbt cit Lsq                            -_
                                                                                                                             -(
                                  _
                                       OR PRiNT NAME                                                         sit;riAruPE   CE 0ARiOR_ATTCRHEY TOR PATTr


        Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
        under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal Rules of Court, rule 3 220 ) Failure to file may result
        in sanctions
        File this cover sheet in addition to any cover sheet required by local court rule.
        If this case is complex cinder rule 3 400 et seq of the California Rules of Court, you must serve a copy of this cover sheet on all
        other parties to the action or proceeding
        Unless this is a collections case under rule 3.740 or a complex case, this cover sheet ‘Nih be used for statistical purposes only
                                                                                                                       ___                                 -        --




                                                                CIVIL CASE COVER SHEET                                                 t       it;   rt.                 c    A    ‘,   Itic           1]
      CM-OlOlRee Juty 1, 200?!                                                                                                                                                     W’fV C’JtJ(intfOct5Qi
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 20 of 33 Page ID #:26



                                                                                                                                         CM-O1O
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
  To Plaintiffs and Others Fihng First Papers. II you are filing a first paper (for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Civil Case Covet Sheet contained on page 1 This information wilL be used to compile
  statistics about the types and numbers of cases filed You must complete items 1 through 6 on the sheet In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. lithe case has multiple causes of action, check the box that best indicates the primary cause of action
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A covet
  sheet must be filed only with your initial paper Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  Its counsel, or both to sanctions under rules 2,30 and 3 220 of the California Rules of Court.
  To Parties in Rule 3.740 Collections Cases. A “collections case” under rule 3 740 is defined as an action for recovery of money
  owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney’s fees, arising from a transaction in
  which property, services, or money was acquired on credit A collections case does not include an action seeking the following: (1) tort
  damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
  attachment. The identification of a case as a rule 3 740 collections case on this form means that t will be exempt from the general
  time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3 740 collections
  case will be subject to the requirements for service and obtaining a judgment in rule 3.740
  To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
  case is complex. If a plaintiff believes the case is complex under rule 3 400 of the California Rules of Court, this must be indicated by
  completing the appropriate boxes in items 1 and 2 If a plaintiff designates a case as complex, the cover sheet must be served with the
  complaint on all parties to the action A defendant may file and serve no later than the time of its first appearance a joinder in the
  plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
  the case is complex
                                                             CASE TYPES AND EXAMPLES
  Auto Tort                                       Contract                                            Provisionally Complex Civil Litigation (Cal.
       Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400—3.403)
             Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                          Contract (not unlawful defamer             Construction Defect (10)
             case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
             motorist claim subject to                      Contract/Warranty Breach-Seller                Securities Litigation (28)
             arbitration, check this item                       Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
             instead of Auto)                               Negligent Breach of Contract!                   Insurance Coverage Claims
  Other PUPDRND (Personal lnjury/                               Warranty                                        (arising from provisionally complex
  Property DamageflNrongfut Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
  Tort                                                 Collections (e.g money owed, open
                                                                       ,                                Enforcement of Judgment
       Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
            Asbestos Property Damage                        Collection Case—Seller Plaintiff                    Abstract of Judgment (Out of
                                                            Other Promissory Note/Collections                        County)
             Asbestos Personal Injuryl
                   Wrongful Death                               Case                                            Confession of Judgment (non-
                                                       Insurance Coverage (not provisionally                         domestic relations)
       Product Liability (not asbestos or
             tcxidenwrnnmental) (24)                        complex) (18)                                       Sister State Judgment
       Medical Malpractice (45)                            Auto Subrogation                                     Administrative Agency Award
             Medical Malpractice—                           Other Coverage                                          (not unpaid taxes)
                   Physicians & Surgeons               Other Contract (37)                                      Petition/Certification of Entry of
             Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                   Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                  Real Property                                                       Case
       Other P1/P D/WD (23)
             Premises Liability fe g., slip            Eminent Domainllnverse                           Miscellaneous Civil Complaint
                   and fall)                                Condemnation (14)                               RICO (27)
             Intentional Bodily injurylPD/WD           Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                                above) (42)
                   (e g assault, vandalism)            Other Real Property fe g quiet title) (26)
             Intentional Infliction of                                                                          Declaratory Relief Only
                                                            Writ of Possession of Real Property                 Injunctive Relief Only (non-
                   Emotional Distress                       Mortgage Foreclosure                                      harassment)
             Negligent Infliction of                        Quiet Title
                   Emotional Distress                                                                           Mechanics Lien
                                                            Other Real Property (not eminent
             Other PI/PO/WO                                                                                     Other Commercial Complaint
                                                            domain, landlord/tenant, or
                                                                                                                      Case (non-tort/non-complex)
  Non-P l/PDIWD (Other) Tort                                foreclosure)
                                                                                                                Other Civil Complaint
       Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                     (non-tort/non-complex)
           Practice (07)                               Commercial (31)
                                                                                                        Miscellaneous Civil Petition
       Civil Rights (e g discrimination,               Residential (32)                                     Partnership and Corporate
            false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
            harassment) (08)                                drugs, check this item, otherwise,              Other Petition (not specified
       Defamation (e g slander, libel)                      report as Commercial or Residential)                above) (43)
              (13)                                Judicial Review                                               Civil Harassment
       Fraud (16)                                      Asset Forfeiture (05)                                    Workplace Violence
       Intellectual Property (19)                      Petition Re: Arbitration Award (11)                       Elder/Dependent Adult
       Professional Negligence (25)                    Writ of Mandate (02)                                           Abuse
            Legal Malpractice                               Writ—Administrative Mandamus                         Election Contest
            Other Professional Malpractice                  Writ—Mandamus on Limited Court                       Petition for Name Change
                 (not medical or legal)                         Case Matter                                      Petition for Relief From Late
        Other Non-Pl/PD/WD Tort (35)                        Writ—Other Limited Court Case                             Claim
  Employment                                                    Review                                           Other Civil Petition
       Wrongful Termination (36)                       Other Judcial Review (39)
       Other Employment (15)                                Review of Health Officer Order
                                                            Notice of Appeal—Labor
                                                                Commissioner Appeals
                                                                                                                                            Page 2 ci 2
                                                       CIVIL CASE COVER SHEET
 Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 21 of 33 Page ID #:27



                                                                                                     Reserved for Clerks File Slemp
         •.           SUPERIOR COURT Of CALIFORNIA
                         COUNTY OF LOS ANGELES
    COURTHOUSEADDRESS:
   Spring Street Courthouse                                                                                    FILED
                                                                                                     st cm of CtInt
   312 North Spring Street, Los Angeles, CA 90012                                                     Ctitintyo! LosAriçjos
                                                                                                          08/1412019
                       NOTICE OF CASE ASSIGNMENT
                                                                                              y              Stovo
                            UNLIMITED CIVIL CASE

                                                                                      CASE NUMBER:

    Your case is assigned for all purposes to the judicial officer indicated below.   1 9STCV28323

                             THiS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                   ASSIGNED JUDGE             DEPT      ROOM                    ASSIGNED JUDGE                       DEPT         ROOM
     V        William F. Highberger          10




    Given to the PlaintiffYCross-Comptainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on   08/14/2019                                                        By Steve Drew                                          Deputy Clerk
                   (Date)
LACJV19O (Rev 6/18)         NOTICE OF CASE ASSIGNMENT                    —   UNLIMITED CIVIL CASE
LASC Approved 05/06
 Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 22 of 33 Page ID #:28



                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, arc summarized
 for your assistance.

 APPLICATION
 The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

 PRIORITY OVER OTHER RU LES
 The Division 7 Rules shall have priority over all other Local Rules 10 the extent the others are inconsistent.

 CHALLENGE TO ASSIGNED JUDGE
 A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
 to ajudge, or if a party has not yet appeared, within 15 days of the first appearance.

 TIME STANDARDS
 Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

 COMPLAINTS
 All complaints shalt be served within 6t) days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed.          Cross-
complaints shall be servedwithin 30 days of the tiling date and a proof of service filed within 60 days of the filing date.

S’IATUS CONFERENCE
A status conference will he scheduted by the assigned Independent Calendar Judge no later than 27f) days after the filing of the
complaint, Counsel must be fully prepared to discuss the tillowing issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 1 0 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiaiy issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to he read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusaL to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the I)ivision 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse, If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisianallv Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation [hr determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq.. it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/78)        NOTICE OF CASE ASSIGNMENT                        —   UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 23 of 33 Page ID #:29




                                   VOLUNTARY EFFICIENT LITIGATION STIPULATIONS




      ‘II
    Superior Court of California
    County of Los Angeles
                                      The Early Organizational Meeting Stipulation, Discovery
                                   Resolution Stipulation, and Motions in Limine Stipulation are
                                   voluntary stipulations entered into by the parties. The parties
                                   may enter into one, two, or all three of the stipulations;
                                   however, they may not alter the stipulations as written,
      LACBA                        because the Court wants to ensure uniformity of application.
    Los Angeles County
    Bar Association                These stipulations are meant to encourage cooperation
    Litigation Section

    Los Angeles County
                                   between the parties and to assist in resolving issues in a
    Bar Association Labor and
    Employment Law Section         manner that promotes economic case resolution and judicial
                                   efficiency.

                                       The       following   organizations   endorse   the   goal   of
    Consumer Attorneys
    Association of Los Angeles
                                   promoting efficiency in litigation and ask that counsel
                                   consider using these stipulations as a voluntary way to
                                   promote communications and procedures among counsel
                                   and with the court to fairly resolve issues in their cases.

                                   •Los Angeles County Bar Association Litigation Section•
    Southern California
    Defense Counsel

                                                 • Los Angeles County Bar Association
                                                 Labor and Employment Law Section•
    ‘4tEE
    Association of
    Business Trial Lawyers
                                       •Consumer Attorneys Association of Los Angeles+


                                             •Southern California Defense Counsel+


                                             •Association of Business Trial Lawyers•

    California Employment
    Lawyers Association
                                        •California Employment Lawyers Association+


       LACIV 230 (NEW)
       LASC Approved 4-11
       For Oplional Use
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 24 of 33 Page ID #:30




  NAME AND ADDRESS OF ATTORNEY OR PANTY ‘AiThOUT ATTORNEY                 STATE BAR NUMBER                  1,,r C.l,ks Fi SIrnp




            TELEPHONE NO.:                                  FAX NO. (Optional):
   E-MAIL ADDRESS tOptional):
      ATTORNEY FOR (Name):
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:


  PLAINTIFF:


  DEFENDANT:


                                                                                             CASE NUMEER:
               STIPULATION              -   EARLY ORGANIZATIONAL MEETING

        This stipulation is intended to encourage cooperation among the parties at an early stage in
        the litigation and to assist the parties in efficient case resolution.

        The parties agree that:

        1. The parties commit to conduct an initial conference (in-person or via teleconference or via
           videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
           whether there can be agreement on the following:

               a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                  amendment as of right, or if the Court would allow leave to amend, could an amended
                  complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                  agree to work through pleading issues so that a demurrer need only raise issues they cannot
                  resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                  would some other type of motion be preferable? Could a voluntary targeted exchange of
                  documents or information by any party cure an uncertainty in the pleadings?

               b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
                  employment case, the employment records, personnel file and documents relating to the
                  conduct in question could be considered “core.’ In a personal injury case, an incident or
                  police report, medical records, and repair or maintenance records could be considered
                  “core.”);

               c.   Exchange of names and contact information of witnesses;

               d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                  indemnify or reimburse for payments made to satisfy a judgment;

               e.   Exchange of any other information that might be helpful to facilitate understanding, handling,
                    or resolution of the case in a manner that preserves objections or privileges by agreement;

               f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                    phases of the case. Also, when and how such issues can be presented to the Court;

               g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably requited to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
        LACIV 229 (Rev 02115)
        LASC Approved 04/11               STIPULATION       —   EARLY ORGANIZATIONAL MEETING
        For Optional Use                                                                                                  Page 1 of 2
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 25 of 33 Page ID #:31




         SHORT TITLE:                                                                       CASE NUMEER.




                        discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
                        corn plaint;

               h.       Computation of damages, including documents, not privileged or protected from disclosure, on
                        which such computation is based;

               i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                        wwwiacourt. org under “Civil’ and then under “General Information”).
     2.                 The time for a defending party to respond to a complaint or cross-complaint will be extended
                        to                         for the complaint, and                             for the cross
                                 fNSERT DATE)                                         (INSERT DATE)
                        complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                        and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                        been found by the Civil Supervising Judge due to the case management benefits provided by
                        this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civit’,
                        click on “General Information”, then click on “Voluntaty Efficient Litigation Stipulations”.

     3.                 The parties will prepare a joint report titled ‘Joint Status Report Pursuant to Initial Conference
                        and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                        results of their meet and confer and advising the Court of any way it may assist the parties’
                        efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                        the Case Management Conference statement, and file the documents when the CMC
                        statement is due.

     4.                 References to ‘days” mean calendar days, unless otherwise noted. If the date for performing
                        any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                        for performing that act shall be extended to the next Court day

     The following parties stipulate:

     Date:
                                                                          p

                           (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
     Date:

                           (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:


                           (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:

                           (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
     Date:

     •                     (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
     Date:


                           (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
     Date:


                           (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


     LACIV 229 (Rev 02/15)
     LASC Approved 04/11              STIPULATION       —   EARLY ORGANIZATIONAL MEETING                          Page 2o12
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  UNE ANO AODNES$ O ATTORNE OR PARtY W1H5UT ATTORtSjY-                 STATE EAR NUMSER            Rd r CArk FIe SIa,p




            TELEPHONE NO..                               FAX NO. (Optional):
   E.MAIL ADDRESS (Optional):
      ATTORNEY_FOR_(Name):
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS


  PLAINTIFF:


  DLFENDANT:


                                                                                          CASE NUMBER:
                     STIPULATION               —   DISCOVERY RESOLUTION

        This stipulation is intended to provide a fast and informal resolution of discovery issues
        through limited paperwork and an informal conference with the Court to aid in the
        resolution of the issues.

        The parties agree that:

        1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
           the moving party first makes a written request for an Informal Discovery Conference pursuant
           to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
          and determine whether it can be resoLved informally. Nothing set forth herein will preclude a
          party from making a record at the conclusion of an Informal Discovery Conference, either
          orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
               presented, a party may request an Informal Discovery Conference pursuant to the following
               procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.     File a Request for Informal Discovery Conference with the clerks office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.     Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.     Also be filed on the approved form (copy attached);

                     ii.     Include a brief summary of why the requested relief should be denied;
       LACIV 036 (new)
       LASS Approved 04/11                    STIPULATION       —   DISCOVERY RESOLUTION
       For Optional Use
                                                                                                                 Page 1 of 3
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 27 of 33 Page ID #:33



      SHORT TITLED
                                                                                     CASE NUMBER:




                     iii.   Be fifed within two (2) court days of receipt of the Request; and

                     iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                            method of service that ensures that the opposing party receives the Answer no
                            later than the next court day following the filing.

            c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
               be accepted.

            U. If the Court has not granted or denied the Request for informal Discovery Conference
               within ten (10) days following the filing of the Request, then it shall be deemed to have
               been denied. lithe Court acts on the Request, the parties will be notified whether the
               Request for Informal Discovery Conference has been granted or denied and, if granted,
               the date and time of the Informal Discovery Conference, which must be within twenty (20)
               days of the fifing of the Request for Informal Discovery Conference.

           e. If the conference is not held within twenty (20) days of the filing of the Request for
              Informal Discovery Conference, unless extended by agreement of the parties and the
              Court, then the Request for the Informal Discovery Conference shall be deemed to have
              been denied at that time.

     4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
        without the Court having acted or (c) the Informal Discovery Conference is concluded without
        resolving the dispute, then a party may file a discovery motion to address unresolved issues.

     5. The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date of filing of the Request for Informal Discovery
        Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
        filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
        by Order of the Court.

           It is the understanding and intent of the parties that this stipulation shall, for each discovery
           dispute to which it applies, constitute a writing memorializing a ‘specific later date to which
           the propounding [or demanding or requesting] party and the responding party have agreed in
           writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
           2033.290(c).

     6. Nothing herein will preclude any party from applying ex pade for appropriate relief, including
        an order shortening time for a motion to be heard concerning discovery.

     7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
        terminate the stipulation.

     S. References to “days” mean calendar days, unless otherwise noted. If the date for performing
        any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
        for performing that act shall be extended to the next Court day.



     LAC)V 036 (new)
     LASC Approved 04111              STIPULATION      —   DISCOVERY RESOLUTION
     For OptonaI Use
                                                                                                    Page 2 of 3
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 28 of 33 Page ID #:34




                                                                                                           1
                                                                           CASE NUMBER:

    tmLE




     The following parties stipulate;

     Date:

                    (TYPE OR PRINT NAME)                                 (ATTORNEY FOR PLAINTIFF)
     Date:

                    (TYPE OR PRINT NAME)                                (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                                (ATTORNEY FOR DEFENDANT)
     Date:
                                                           >
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR DEFENDANT)
     Date:
                                                           >
                   (TYPE OR PRINT NAME)                         (ATTORNEY FOR
     Date:

                   (TYPE OR PRINT NAME)                         (ATTORNEY FOR
     Date:

                   (TYPE OR PRINT NAME)•                        (ATTORNEY FOR




    LACIV 036 (new)
    LASC Approved 04/11            STIPULATION   -   DISCOVERY RESOLUTiON
    For Optional Use                                                                                Page 3 of 3
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 29 of 33 Page ID #:35




  AE AFJO ADORESS OF ATTORNEY OR PARTV WtTHOUr ADIORREY;                         NUMBER                         Rerved for Clerk, File SSrrnp




            TELEPHONE NO.                                  FAX NC. (Optional):
   E-MAIL ADDRESS (Optional):
      ATTORNEY FOR (Name):
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:


  PLAINTiFF:


  DEFENDANT:


                                                                                                      CRSE NUMBER:
                          INFORMAL DISCOVERY CONFERENCE
            (pursuant to the Discovery Resolution Stipulation of the parties)
        1. This document relates to:
                    LI      Request for Informal Discovery Conference
                    LI      Answer to Request for Informal Discovery Conference
        2.       Deadline for Court to decide on Request:                     (insert             date 10 calendar days following filing of
               the Request).

        3.       Deadline for Court to hold Informal Discovery Conference:                                         (insert date 20 calendar
               days following filing of the Request).

        4.     For a Request for Informal Discovery Conference, briefly describe the nature of the
               discovery dispute, including the facts and legal arguments at issue. For an Answer to
               Request for Informal Discovery Conference, briefly describe why the Court should deny
               the requested discovery, including the facts and legal arguments at issue.
             r




       LACIV 094 (new)
       LASC Approved 04111                         INFORMAL DISCOVERY CONFERENCE
                                                            .                    .



       For Optional Use                   (pursuant to the Discovery Resolution Stipulation of the parties)
Case 2:19-cv-08286-CAS-RAO Document 1-1 Filed 09/24/19 Page 30 of 33 Page ID #:36




  NRME ANO ACt)RESS O AtTORNEY OR PARTY ?‘TfOU ArtORNEY                 STATE EAR NUMHER            Re,e,vca Nt C:erks FiN Stamp




            TELEPHONE NO.:                                FAX NO. (Optional):
   E.MAIL ADDRESS (Optional):
      ATTORNEY FOR (Name);
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:


  PLAINTIFF:


  DEFENDANT:


                                                                                           CASE NUMBER:
                STIPULATION AND ORDER                     —   MOTIONS IN LIMINE


        This stipulation is intended to provide fast and informal resolution of evidentiary
        issues through diligent efforts to define and discuss such issues and limit paperwork.


        The parties agree that:

        1. At least       days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motion in
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion in limine and the grounds for the proposed motion.

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in Iimine. In that meet and confer, the
          parties will determine:

               a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                  stipulate, they may file a stipulation and proposed order with the Court.

               b. Whether any of the proposed motions can be briefed and submitted by means of a
                  short joint statement of issues. For each motion which can be addressed by a short
                  joint statement of issues, a short joint statement of issues must be filed with the Court
                  10 days prior to the final status conference. Each side’s portion of the short joint
                  statement of issues may not exceed three pages. The parties will meet and confer to
                  agree on a date and manner for exchanging the parties’ respective portions of the
                  short joint statement of issues and the process for filing the short joint statement of
                  issues.

       3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV 075 (new)
       LSCApproved04/11                 STIPULATION AND ORDER— MOTIONS IN LIMINE
       For Optional Use
                                                                                                                        Page 1 of 2
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     SHORT TIlLS:                                                      CASS NUMBER:




     The following parties stipulate:


     Date:

                    (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
     Date:

                    (TYPE OR PR1NT NAME)                          (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                      (ATTORNEY FOR
     Date:
                                                          >
                    (TYPE OR PRINT NAME)                      (ATTORNEY FOR
     Date:
                                                          >
                    (TYPE OR PRINT NAME)                      (ATTORNEY FOR



     THE COURT SO ORDERS.



       Date:
                                                                       JUDICIAL OFFICER




     LACIV 075 (new)
     LASC Approved 04111      STIPULATiON AND ORDER   -   MOTIONS IN LIMINE                   Page2ot2
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                            Superior Court of California, County of Los Angeles

                                    ALTERNATIVE DISPUTE RESOLUTION fADR)
                                           INFORMATION PACKAGE

   THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

   CROSS-COMPLAINANTS must serve this ADR information Package on any new parties named to the action
   with the cross-complaint.



 What is ADR?
 ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
 mediation, arbitration and settlement conferences. When ADR is done by phone or computer, it may be called Online
 Dispute Resolution fODR). These “alternatives” to litigation and trial are described below.

 Advantages of ADR
    • Saves Time: ADR is faster than going to trial.
    • Saves Money: Parties can save on court costs, attorney’s fees and witness fees.
    • Keeps Control with the parties: Parties choose their ADR process and provider for voluntary ADR.
    •   Reduces stress/protects privacy: ADR is done outside the courtroom, in private offices, by phone or online.


 Disadvantages of ADR
      •     Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
      •     No Public Trial: ADR does not provide a public trial ora decision by a judge or jury.

 Main Types of ADR:

      1.    Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
            settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

      2.    Mediation: In mediation, a neutral “mediator” listens to each person’s concerns, helps them evaluate the
            strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
            acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                       Mediation may be appropriate when the parties
                          •   want to work out a solution but need help from a neutral person.
                          •   have communication problems or strong emotions that interfere with resolution.
                       Mediation may not be appropriate when the parties
                         •    want a public trial and want a judge or jury to decide the outcome.
                          • lack equal bargaining power or have a history of physical/emotional abuse.

                                                                                                                         LASC1
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                                         How to arrange mediation in Los Angeles County
      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

                 a.    The Civil Mediation Vendor Resource List
                         Parties may contact these organizations to request a “Resource List Mediation” for reduced-cost or
                                   free (for selected cases) mediation in person or with ODR (by phone or online).

                       •     JAMS, Inc.: Case Manager (213) 253-9776 mdawson@Iamsadr.com
                       •     Mediation Center of Los Angeles: Case Manager: (833) 476-9145

                 These organizations cannot accept every case and they may decline cases at their discretion.
                    Visit www.lacourt.org/ADR.Res.List for important information and FAQs before contacting them.
                    NOTE: This service is not available for family law, probate or small claims.

                 b.    Los Angeles County Dispute Resolution Programs
                       https://wdacs.lacountygov/prograrns/d rpL
                           • Free, day- of- trial mediations at the courthouse for small claims, unlawful detainers (evictions)
                                and, at the Stanley Mosk Courthouse, limited civil. No.appointment needed.
                           • Free or low-cost mediations before the day of trial for these and other case types.
                           • For ODR by phone or computer for small claims or unlawful detainer (eviction) cases before the
                                day of trial, visit
                                http Jfwww lacourt org/chvIsIon/rnallclaims/pdfJOnlmeDsputeResolutIonFlyer EngSpan pdf

                 c.    Mediators and ADR and Bar organizations that provide mediation may be found on the internet.




      3.    Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
            person who decides the outcome. In “binding” arbitration, the arbitrator’s decision is final; there is no right to
            trial. In “nonbinding” arbitration, any party can request a trial after the arbitrator’s decision. For more
            information about arbitration, visit http://www.courts.ca.govJprograms-adr.htm

      4.    Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
            date. The parties and their attorneys meet with a judge or settlement officer who does not make a decision but
            assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a settlement.
            For information about the Court’s MSC programs for civil cases, visit: www.lacourt.org/division/civil/settlement




 Los Angeles Superior Court ADR website:      aurgJdivision/civil/settlement
 For general information and videos about ADR, visit http://www.courts.ca.govfprograms-adr.htm




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